        Case: 23-15259, 03/01/2023, ID: 12664784, DktEntry: 32, Page 1 of 4




                   UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                      MAR 1 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
WESTERN WATERSHEDS PROJECT; et                 No.   23-15259
al.,
                                               D.C. Nos.
               Plaintiffs-Appellants,          3:21-cv-00080-MMD-CLB
                                               3:21-cv-00103-MMD-CLB
and                                            District of Nevada,
                                               Reno
BARTELL RANCH LLC; EDWARD
BARTELL,                                       ORDER

               Plaintiffs,

RENO-SPARKS INDIAN COLONY; et al.,

               Intervenor-Plaintiffs,

 v.

ESTER M. MCCULLOUGH, District
Manager; et al.,

               Defendants-Appellees,

LITHIUM NEVADA CORPORATION,

      Intervenor-Defendant-
      Appellee.


WESTERN WATERSHEDS PROJECT; et                 No.   23-15261
al.,
                                               D.C. Nos.
               Plaintiffs,                     3:21-cv-00080-MMD-CLB
                                               3:21-cv-00103-MMD-CLB
RENO-SPARKS INDIAN COLONY; ATSA


MN/MOATT
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KOODAKUH WYH NUWU PEOPLE OF
RED MOUNTAIN,

               Intervenor-Plaintiffs,

and

BURNS PAIUTE TRIBE,

      Intervenor-Plaintiff-
      Appellant,

 v.

ESTER M. MCCULLOUGH, District
Manager; et al.,

               Defendants-Appellees,

LITHIUM NEVADA CORPORATION,

      Intervenor-Defendant-
      Appellee.


BARTELL RANCH LLC; EDWARD                      No.   23-15262
BARTELL,
                                               D.C. Nos.
               Plaintiffs-Appellants,          3:21-cv-00080-MMD-CLB
                                               3:21-cv-00103-MMD-CLB
and

WESTERN WATERSHEDS PROJECT; et
al.,

               Plaintiffs,

RENO-SPARKS INDIAN COLONY; et al.,

               Intervenor-Plaintiffs,

MN/MOATT                                2                                     23-15259
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 v.

ESTER M. MCCULLOUGH, District
Manager; et al.,

                Defendants-Appellees,

LITHIUM NEVADA CORPORATION,

      Intervenor-Defendant-
      Appellee.

Before: M. SMITH and BRESS, Circuit Judges.

      The parties’ motions to file combined and oversized responses and replies

(Docket Entry No. 17, 19, 29 in No. 23-15259; Docket Entry No. 13 in No. 23-

15262) in connection with the motions for injunctive relief are granted.

      The motions for injunctive relief pending appeal (Docket Entry No. 2 in No.

23-15259; Docket Entry No. 4 in No. 23-15262) are denied. See Feldman v. Ariz.

Sec’y of State’s Office, 843 F.3d 366, 367 (9th Cir. 2016) (discussing standard for

injunction pending appeal).

      The motion to set a briefing schedule on the emergency motions for

injunction (Docket Entry No. 10 in No. 23-15259) is denied as moot.

      We sua sponte consolidate and expedite these appeals. Appeal Nos. 23-

15259, 23-15261 and 23-15262 are consolidated.

      The opening briefs are due March 24, 2023. The consolidated answering



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briefs are due April 14, 2023. The optional reply briefs are due within 14 days

after service of the last-served consolidated answering brief. All parties on a side

are encouraged to join in a single brief to the greatest extent practicable. See

Circuit Advisory Committee Note to 9th Cir. R. 32-2.

      The Clerk will place these appeals on the June 2023 calendar. See 9th Cir.

Gen. Order 3.3(f).




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